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                   IN THE UNITED STATES DISTRICT COURT
                    FOR THE NORTHERN DISTRICT OF TEXAS
                            FORT WORTH DIVISION

ROBERT (BOB) ROSS                       §
                                        §
VS.                                     §   ACTION NO. 4:22-CV-343-Y
                                        §
ASSOCIATION OF PROFESSIONAL             §
FLIGHT ATTENDANTS et al.

                       ORDER TO SUBMIT JOINT STATUS
                    REPORT_AND PROPOSED DISCOVERY PLAN


        Pursuant to Federal Rules of Civil Procedure 16(b) and 26(f)

and the Court's Civil Justice Expense and Delay Reduction Plan

the Court enters this order to promote early settlement of this

action and to facilitate entry of the scheduling order required by

Rule 16(b).1

                                       A.

        If, upon receipt of this order, the parties' attorneys2 have

not already conferred as required by Rule 26(f), they shall, within

20 days of the date of filing of this order, in compliance with

Rule 26(f), confer to discuss:

        (1)   The nature and basis of their claims and defenses,


  1 While all counsel are expected to be familiar with all rules of court, the

Court recognizes the potential for confusion and waste of time inherent in being
required to read and synthesize, without Court direction, this order, the
initial and final scheduling orders that will follow, the federal rules, and
the local rules. Consequently, the Court has written this order and the initial
and final scheduling orders to provide the parties a comprehensive guide to
their pretrial procedures and requirements in this Court.

 2  In accordance with local civil rule 1.1(c)(2), a party proceeding pro se is
included in the definition of attorney.


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     (2)   The possibilities for prompt settlement,

     (3)   Making the initial disclosures required by Rule
           26(a)(1)(A) or stipulating that they will not be made,
           and

     (4)   Developing a proposed discovery plan.

     If the parties have already submitted a Rule 26(f) written

report that outlines their proposed discovery plan by the time

this order issues, they must nevertheless submit the joint status

report   required   by   this   order,   because    this   order     requests

additional information not required by Rule 26(f).                The parties

may, however, incorporate in the joint status report by reference

portions of their written report if they attach a photocopy of the

written report to their joint status report.

                                    B.

     The parties are ordered to electronically file with the clerk

of the court the signed joint status report and proposed discovery

plan (one instrument) within 28 days of the date of the filing of

this order, and to include therein, in separate paragraphs, each

of the following matters:

     (1)   A brief statement of the nature of the case, including
           the contentions of the parties;

     (2)   Any challenge to jurisdiction or venue;

     (3)   A brief description of any          matters     that    require   a
           conference with the Court;

     (4)   An assessment of the likelihood that other parties will
           be joined, identities of potential parties and an
           estimate of the time needed for joinder of such parties;


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      (5)   When the disclosures required by Rule 26(a)(1)(A) will
            be made or a statement that the parties have stipulated
            that those disclosures will not be made or that they are
            exempted from making those disclosures under Rule
            26(a)(1)(B);3

      (6)   (a)   A very brief statement of the subjects on which
                  discovery may be needed,

            (b)   When discovery should be completed, and

            (c)   Whether discovery should be conducted in phases or
                  be limited to or focused upon particular issues;

      (7)   What changes, if any, should be made in the limitations

            on discovery imposed under the federal or local rules,

            and what other limitations, if any, should be imposed;

      (8)   A statement regarding whether any other orders should be

            entered by the Court under Rule 26(c) or under Rule 16(b)

            and (c) (If additional orders are required, they should

            be separately submitted in agreed form with the joint

            status report and proposed discovery plan.);

      (9)   Whether a jury has been demanded;

      (10) Whether the parties will consent to the referral of this

            case to a United States magistrate judge, who will

            preside over all pretrial proceedings and trial (whether

            jury or nonjury) (See 28 U.S.C. § 636(c); F.R.C.P. 73.)



  3  Subparagraphs 5 - 8 are drawn from and are designed to secure the parties'
compliance with Fed. R. Civ. P. 26(f)(1) - (4).




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         (The parties are advised that they are free to withhold

         consent without adverse substantive consequences.                 If

         one or more of the parties does not consent, this fact

         should be communicated only by stating in the joint

         status report that "the parties could not agree to refer

         this case to the magistrate judge.");

   (11) (a)    An assessment of the prospects for settlement,

         (b)   The status of any settlement negotiations already
               conducted, (except that in a nonjury case the
               parties shall not disclose settlement figures), and

         (c)   The parties' agreement as to a specific date, place
               and time of a formal settlement conference at which
               the parties and their counsel shall appear in
               person to discuss settlement of this case
               (corporations, partnerships, associations, etc.,
               shall participate through a representative who must
               have authority to bargain in good faith);

   (12) An assessment of whether the dispute would be amenable

         to mediation and if not, why not, keeping in mind that

         pro bono mediation may be available to parties unable to

         afford it (If mediation seems appropriate, indicate the

         month and year it would be appropriate and whether it

         should be ordered in addition to or in lieu of the court-

         ordered settlement negotiations contemplated by 11(c),

         above.);

   (13) A statement that counsel have read the Dondi decision,

         121 F.R.D. 284 (N.D. Texas 1988)         (The Dondi opinion is

         also available on the Northern District of Texas website


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           at     http://www.txnd.uscourts.gov/publications/html.);

           and

     (14) Any other matters relevant to the status and disposition

           of this case.

     Any differences between counsel as to any of the above matters

shall be set forth in the report.

                                    C.

     Plaintiff’s counsel shall arrange the conference and file the

joint status report and proposed discovery plan. All counsel shall

cooperate in arranging the conference, shall participate in it,

and shall sign the joint status report and proposed discovery plan

resulting from it.    Since the Court must, pursuant to Fed. R. Civ.

P. 16(b), enter a scheduling order within 90 days after the

appearance of a defendant and within 120 days after the complaint

has been served on a defendant, any request for an extension of

time to file the report and plan will be viewed with disfavor and

will be denied absent a showing of good cause.

                                    D.

     Failure to timely file the joint status report and proposed

discovery plan, or failure to cooperate in the arrangement of the

conference required by paragraph A or in the preparation and the

filing of the joint status report and proposed discovery plan, may

result in the imposition of sanctions, including dismissal or entry

of default without further notice.       See Fed. R. Civ. P. 16(f).


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                                    E.

     Miscellaneous:

     (1) Citations.     All briefs filed with the Court must comply

with the most recent edition of THE BLUEBOOK, A UNIFORM SYSTEM    OF   CITATION

(Colum. L. Rev. Ass'n et al. eds., 21st ed. 2020).           Particularly,

counsel are directed to provide, where applicable, the subsections

of cited statutes, and to provide jump cites when citing cases,

i.e., provide the page where the stated legal proposition can be

found.    See id. R. 3.2-3.4, at 73-78 (regarding pinpoint or "jump"

cites and subsections, respectively).          Furthermore, if a brief

contains citations to unpublished opinions or to LEXIS, counsel

must attach copies of those cases to the brief.

     (2) Certificates of Conference. Pursuant to Rule 5 and Local

Civil Rule 7.1(b), certificates of service and conference shall

address all parties, including co-defendants and co-plaintiffs.

     (3)    All documents submitted to the Court shall be double-

spaced and in no smaller than 12-point font.

     (4)    Paper copies:     Local Civil Rule 5.1(b) and the ECF

Administrative Procedures Manual require that a paper copy of any

electronically filed document be submitted to the judge.                Judge

Means requires that the paper copy arrive at his chambers by mail

or personal delivery within three working days of the electronic

filing.    The electronically filed document may be unfiled if the

judge's paper copy does not arrive timely.           The paper copy must


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have the notice of electronic filing stapled to the front of the

document it pertains to.     Where a case or issue has been referred

to the magistrate judge, the magistrate judge's paper copy of any

pertinent   electronically     filed       document   must   arrive   at   the

magistrate judge's chambers by mail or personal delivery within

three working days of the electronic filing.

     (5)    Summary-Judgment Procedures:

            (a)   Content of Motions.          Regarding summary-judgment

motions, the parties shall proceed as though Local Civil Rules

56.3(b) and 56.4(b) contain the word "must" instead of the word

"may" in their first lines. That is, all matters required by local

civil rules 56.3(a) and 56.4(a) must be set forth in the party's

brief.

            (b) Identifying Live Pleadings.           The party moving for

summary judgment must identify, in a separate section at the

beginning of his brief, by name of pleading, date filed, and

document number on the Court's docket, the live pleadings for each

party who has appeared in the action.          Any party filing a response

to the motion shall indicate whether he agrees with the movant's

identification of the live pleadings and, if not, why.




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     (6)    Appendices:

            (a)     Highlighting    of        Appendices.        Regarding     the

documentary       evidence    submitted       in   an   appendix,    Judge   Means

requires   that,     if   the   appendix      is   electronically     filed,    the

proponent of the appendix underline (or, as to large passages,

bracket in the margin) the portions of the appendix upon which he

relies.    Similarly, if the appendix is manually filed, the portion

of each page of the appendix upon which the proponent relies must

be highlighted, underlined (or, for large passages, bracketed in

the margins).

            (b)     Large Appendices.          Local civil rule 10.1(e) not

withstanding, the judge’s paper copy of any appendix exceeding one

hundred fifty (150) pages must be submitted in one or more three-

ring binders, with the notice of electronic filing placed on top

of the appendix inside the first binder and tabbed dividers placed

between    each    separate     exhibit.      No   single   binder    may    exceed

approximately three hundred (300) pages.

            (c)      Non-published Citations.            If citations to non-

published cases are included in a brief, the proponent of the brief

must attach a copy of the non-published case in the appendix.

Westlaw citations are preferred over Lexis.




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     (7)   Judge-specific requirements.         Counsel are advised to

review Judge Means's general requirements, which are available on

the Court's website at:

        http://www.txnd.uscourts.gov/judges/tmeans_req.html

     Signed July 6, 2022.


                                         ____________________________
                                         TERRY R. MEANS
                                         UNITED STATES DISTRICT JUDGE




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